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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION


    DIVISION 80 LLC,                                   Case No. 3:22-cv-00148

           Plaintiff,                                  District Judge Jeffrey V. Brown

      v.

    MERRICK GARLAND, in his official
    capacity as Attorney General of the
    United States et al.,

           Defendants.


                DEFENDANTS’ ANSWER TO PLAINTIFF’S ORIGINAL
             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

            Defendants Merrick Garland, in his official capacity as Attorney General of the United

States; Steven Dettelbach, Director of the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), in his official capacity; 1 the United States Department of Justice; and ATF

(collectively, Defendants), hereby answer Plaintiff’s Complaint, ECF No. 1, as follows.

            1.      This paragraph consists of Plaintiff’s characterization of this action and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, the allegations in this paragraph are denied.

            2.      The allegations in this paragraph are denied, except to admit that in some prior

postings on ATF’s website, in some prior classification determinations, and in some prior case




1 Pursuant to Federal Rule of Civil Procedure 25(d)(1), Steven Dettelbach is automatically
substituted for his predecessor, Gary Restaino, Acting Director of ATF.
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filings, ATF has taken the legal position that receiver blanks that do not meet the definition

of a “firearm” under the Gun Control Act of 1968 (GCA) are not subject to regulation under

that Act.

       3.     The allegations in the first sentence are denied, except to admit that President

Biden’s 2020 presidential campaign platform included supporting legislation regarding “ghost

guns.” The allegations in the second sentence are denied.

       4.     The allegations in the first sentence are denied. The second sentence consists

of Plaintiffs’ characterization of Final Rule, Definition of “Frame or Receiver” and

Identification of Firearms, 87 Fed. Reg. 24,652 (Apr. 26, 2022) (Rule); and also consists of

legal conclusions, to which no response is required. To the extent a response is deemed

required, Defendants respectfully refer the Court to the Rule for a full and accurate statement

of its contents, and otherwise the allegations in this paragraph are denied.

       5.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in the first three sentences of this paragraph, and therefore

deny them. The fourth sentence consists of Plaintiffs’ characterization of an ATF regulatory

impact analysis, to which no response is required; to the extent a response is deemed required,

Defendants respectfully refer the Court to the cited analysis for a full and accurate statement

of its contents, and otherwise the allegations in this sentence are denied. The fifth sentence

consists of Plaintiff’s characterization of this action, to which no response is required; to the

extent a response is deemed required, the allegations in this sentence are denied.

       6.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.


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       7.     The allegations in this paragraph are admitted.

       8.     Defendants admit that the United States Department of Justice is a federal

agency, and that it administers and enforces the National Firearms Act of 1934 (NFA) and the

GCA.

       9.     The allegations in this paragraph are denied. Defendants admit that Defendant

Steven Dettelbach is the Director of ATF.

       10.    Defendants admit that ATF is a federal agency, and that it administers and

enforces the NFA and the GCA.

       11.    This paragraph consists of Plaintiffs’ characterization of two statutes and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the cited statutes for a full and

accurate statement of their contents, and otherwise the allegations in this paragraph are denied.

       12.    The first sentence of this paragraph consists of Plaintiffs’ characterization of a

statute and also consists of legal conclusions, to which no response is required; to the extent

a response is deemed required, Defendants respectfully refer the Court to the cited statute for

a full and accurate statement of its contents, and otherwise the allegations in this sentence are

denied. Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in the second sentence, and therefore deny them.

       13.    This paragraph consists of Plaintiffs’ characterization of a judicial decision and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decision for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.


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       14.     This paragraph consists of Plaintiffs’ characterization of a statute and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the cited statute for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

       15.     This paragraph consists of Plaintiffs’ characterization of a statutory provision

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited provision

for a full and accurate statement of its contents, and otherwise the allegations in this paragraph

are denied.

       16.     This paragraph consists of Plaintiffs’ characterization of a statutory provision

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited provision

for a full and accurate statement of its contents, and otherwise the allegations in this paragraph

are denied.

       17.     This paragraph consists of Plaintiffs’ characterization of a statute and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the cited statute for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

       18.     This paragraph consists of Plaintiffs’ characterization of a prior version of a

regulation and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited




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regulation for a full and accurate statement of its contents, and otherwise the allegations in

this paragraph are denied.

       19.     This paragraph consists of Plaintiffs’ characterization of statutory provisions

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited provisions

for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       20.     This paragraph consists of Plaintiffs’ characterization of a statute and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the cited statute for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

       21.     This paragraph consists of Plaintiffs’ characterization of a statutory provision

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited provision

for a full and accurate statement of its contents, and otherwise the allegations in this paragraph

are denied.

       22.     This paragraph consists of Plaintiffs’ characterization of judicial decisions and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decisions for a full

and accurate statement of their contents, and otherwise the allegations in this paragraph are

denied.




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       23.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       24.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       25.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       26.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them, except to admit

that many Americans make privately made firearms.

       27.     Defendants deny the allegations in the first sentence of this paragraph, except

to admit that in common firearms industry parlance, a “receiver blank” is an unfinished

component part of a weapon that requires the performance of certain machining or milling

operations before it may become a functional firearm receiver.         Defendants deny the

allegations in the second and third sentences, except to admit that the term “80% receiver” is

not a legal term.

       28.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       29.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       30.     Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.




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       31.     This paragraph consists of Plaintiffs’ characterization of statutory provisions

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited provisions

for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       32.     This paragraph consists of Plaintiffs’ characterization of ATF website pages,

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited website

pages for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       33.     This paragraph consists of Plaintiffs’ characterization of an ATF website page,

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited website page

for a full and accurate statement of its contents, and otherwise the allegations in this paragraph

are denied.

       34.     The allegations in this paragraph are denied, except to admit that for many years,

ATF has acted on voluntary requests from persons by issuing determinations or

“classifications” as to whether a particular item is a “firearm” or other regulated item under

the NFA or the GCA, and that ATF’s Firearms and Ammunition Technology Division is

responsible for issuing such classifications.

       35.     This paragraph consists of Plaintiffs’ characterization of an administrative

record filed in a different case, and also consists of legal conclusions, to which no response is


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required. To the extent a response is deemed required, Defendants respectfully refer the Court

to the cited record for a full and accurate statement of its contents, and otherwise the

allegations in this paragraph are denied.

       36.    This paragraph consists of Plaintiffs’ characterization of briefs filed in two

different cases, and also consists of legal conclusions, to which no response is required. To

the extent a response is deemed required, Defendants respectfully refer the Court to the cited

briefs for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       37.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       38.    This paragraph consists of Plaintiffs’ characterization of a presidential campaign

web page, to which no response is required. To the extent a response is deemed required,

Defendants respectfully refer the Court to the cited web page for a full and accurate statement

of its contents, and otherwise the allegations in this paragraph are denied.

       39.    This paragraph consists of Plaintiffs’ characterization of various congressional

bills, to which no response is required. To the extent a response is deemed required,

Defendants respectfully refer the Court to the cited bills for a full and accurate statement of

their contents, and otherwise the allegations in this paragraph are denied.

       40.    The allegations in this paragraph are denied.

       41.    This paragraph consists of Plaintiffs’ characterization of a White House press

release, to which no response is required. To the extent a response is deemed required,




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Defendants respectfully refer the Court to the cited press release for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       42.    The allegations in the first sentence of this paragraph are admitted. The second

sentence consists of Plaintiffs’ characterization of a presidential speech, to which no response

is required. To the extent a response is deemed required, Defendants respectfully refer the

Court to the cited speech for a full and accurate statement of its contents, and otherwise the

allegations in this paragraph are denied.

       43.    The allegations in this paragraph consist of Plaintiffs’ characterization of a

speech by the Attorney General, and also consist of legal conclusions, to which no response

is required. To the extent a response is deemed required, Defendants respectfully refer the

Court to the cited speech for a full and accurate statement of its contents, and otherwise the

allegations in this paragraph are denied.

       44.    Defendants admit that on May 21, 2021, ATF issued Proposed Rule 2021R-05,

“Definition of ‘Frame or Receiver’ and Identification of Firearms,” 86 Fed. Reg. 27,720

(Notice), which was signed on May 7, 2021 by Attorney General Merrick Garland.

       45.    The allegations in this paragraph consist of Plaintiffs’ characterization of

remarks made during a Senate subcommittee hearing, and also consist of legal conclusions, to

which no response is required. To the extent a response is deemed required, Defendants

respectfully refer the Court to the cited remarks for a full and accurate statement of their

contents, and otherwise the allegations in this paragraph are denied.

       46.    Defendants admit that during the ninety-day comment period for the Notice,

ATF received over 290,000 public comments.


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       47.    The allegations in this paragraph consist of Plaintiffs’ characterization of a

presidential speech, to which no response is required. To the extent a response is deemed

required, Defendants respectfully refer the Court to the cited speech for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       48.    The allegations in this paragraph are denied.

       49.    The allegations in the first two sentences of this paragraph consist of Plaintiffs’

characterization of a newspaper article, to which no response is required; to the extent a

response is deemed required, Defendants respectfully refer the Court to the cited article for a

full and accurate statement of its contents, and otherwise the allegations in these sentences are

denied. The allegations in the third sentence are denied, except to admit that in April 2022,

ATF Acting Director Gary Restaino succeeded Acting Director Marvin Richardson.

       50.    The allegations in this paragraph consist of Plaintiffs’ characterization of an

article on a news website, to which no response is required; to the extent a response is deemed

required, Defendants respectfully refer the Court to the cited article for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       51.    The allegations in this paragraph consist of Plaintiffs’ characterization of a

presidential speech, to which no response is required. To the extent a response is deemed

required, Defendants respectfully refer the Court to the cited speech for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       52.    The allegations in this paragraph are admitted.

       53.    The allegations in this paragraph consist of Plaintiffs’ characterization of a

statutory provision, and also consist of legal conclusions, to which no response is required.


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To the extent a response is deemed required, Defendants respectfully refer the Court to the

cited provision for a full and accurate statement of its contents, and otherwise the allegations

in this paragraph are denied.

       54.    This paragraph consists of Plaintiffs’ characterization of a prior version of a

regulation, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited

regulation for a full and accurate statement of its contents, and otherwise the allegations in

this paragraph are denied.

       55.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       56.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       57.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       58.    The allegations in the first two sentences of this paragraph are denied, except

to admit that in some prior classifications, ATF has determined that some receiver blanks are


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not “firearms” under federal law, and that ATF has defended these classifications in litigation.

The third sentence of this paragraph consists of Plaintiffs’ characterization of the Rule, and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this sentence are denied.

       59.    This paragraph consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, the allegations in this paragraph are denied.

       60.    The first sentence of this paragraph consists of Plaintiffs’ characterization of

the Rule, and also consists of legal conclusions, to which no response is required; to the extent

a response is deemed required, Defendants respectfully refer the Court to the Rule for a full

and accurate statement of its contents, and otherwise the allegations in this sentence are

denied. Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in the second and third sentences of this paragraph, and therefore

deny them.

       61.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       62.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.


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       63.    This paragraph consists of Plaintiffs’ characterization of judicial decisions, and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decisions for a full

and accurate statement of their contents, and otherwise the allegations in this paragraph are

denied.

       64.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       65.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       66.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       67.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.




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       68.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       69.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       70.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       71.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       72.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       73.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is


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deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       74.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       75.    This paragraph consists of Plaintiffs’ characterization of a statutory provision,

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the Rule for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

       76.    This paragraph consists of Plaintiffs’ characterization of a statutory provision

and the prior version of a regulation, and also consists of legal conclusions, to which no

response is required. To the extent a response is deemed required, Defendants respectfully

refer the Court to the cited legal materials for a full and accurate statement of their contents,

and otherwise the allegations in this paragraph are denied.

       77.    This paragraph consists of Plaintiffs’ characterization of a statutory provision

and the Rule, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited legal

materials for a full and accurate statement of their contents, and otherwise the allegations in

this paragraph are denied.

       78.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is


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deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       79.    This paragraph consists of Plaintiffs’ characterization of the Notice, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Notice for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       80.    This paragraph consists of Plaintiffs’ characterization of the Notice, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Notice for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       81.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       82.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       83.    This paragraph consists of Plaintiffs’ characterization of the Notice and the

Rule, and also consists of legal conclusions, to which no response is required. To the extent

a response is deemed required, Defendants respectfully refer the Court to the Notice and the




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Rule for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       84.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       85.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       86.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       87.    This paragraph consists of Plaintiffs’ characterization of the Notice, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Notice for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       88.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.


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       89.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       90.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       91.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       92.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       93.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       94.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.


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       95.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       96.    This paragraph consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, the allegations in this paragraph are denied.

       97.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       98.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       99.    Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.

       100.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       101.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       102.   Defendants lack knowledge or information sufficient to form a belief as to the

truth of the allegations contained in this paragraph, and therefore deny them.


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         103.   This paragraph consists of Plaintiffs’ characterization of an ATF regulatory

impact analysis, to which no response is required; to the extent a response is deemed required,

Defendants respectfully refer the Court to the cited analysis for a full and accurate statement

of its contents, and otherwise the allegations in this paragraph are denied.

         104.   The allegations in the first two sentences in this paragraph are denied. The third

sentence consists of Plaintiffs’ characterization of this action, to which no response is required;

to the extent a response is deemed required, the allegations in this sentence are denied.

         105.   Defendants hereby incorporate by reference their responses to paragraphs 1-

104.

         106.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         107.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         108.   Defendants hereby incorporate by reference their responses to paragraphs 1-

107.

         109.   This paragraph consists of Plaintiffs’ characterization of a constitutional

provision, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited


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provision for a full and accurate statement of its contents, and otherwise the allegations in this

paragraph are denied.

         110.   This paragraph consists of Plaintiffs’ characterization of a constitutional

provision, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited

provision for a full and accurate statement of its contents, and otherwise the allegations in this

paragraph are denied.

         111.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         112.   Defendants hereby incorporate by reference their responses to paragraphs 1-

111.

         113.   This paragraph consists of Plaintiffs’ characterization of a judicial decision, and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decision for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

         114.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.




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         115.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         116.   Defendants hereby incorporate by reference their responses to paragraphs 1-

115.

         117.   This paragraph consists of Plaintiffs’ characterization of an ATF website page,

and also consists of legal conclusions, to which no response is required. To the extent a

response is deemed required, Defendants respectfully refer the Court to the cited website page

for a full and accurate statement of its contents, and otherwise the allegations in this paragraph

are denied.

         118.   The allegations in this paragraph are denied, except to admit that in some prior

classification determinations, ATF has taken the legal position that receiver blanks that do not

meet the definition of a “firearm” under the Gun Control Act of 1968 (GCA) are not subject

to regulation under that Act.

         119.   The allegations in this paragraph are denied, except to admit that in some prior

classifications, ATF has determined that some receiver blanks are not “firearms” under federal

law, and that ATF has defended these classifications in litigation.

         120.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.


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         121.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         122.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         123.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         124.   This paragraph consists of Plaintiffs’ characterization of the Rule and of a

statutory provision, and also consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, Defendants respectfully refer the Court to the

cited legal provisions for a full and accurate statement of their contents, and otherwise the

allegations in this paragraph are denied.

         125.   Defendants hereby incorporate by reference their responses to paragraphs 1-

124.

         126.   This paragraph consists of Plaintiffs’ characterization of the Notice and of a

statutory provision, and also consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, Defendants respectfully refer the Court to the


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cited legal provisions for a full and accurate statement of their contents, and otherwise the

allegations in this paragraph are denied.

       127.   This paragraph consists of Plaintiffs’ characterization of the Notice and the

Rule, and also consists of legal conclusions, to which no response is required. To the extent

a response is deemed required, Defendants respectfully refer the Court to the Notice and the

Rule for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       128.   This paragraph consists of Plaintiffs’ characterization of the Notice and the

Rule, and also consists of legal conclusions, to which no response is required. To the extent

a response is deemed required, Defendants respectfully refer the Court to the Notice and the

Rule for a full and accurate statement of their contents, and otherwise the allegations in this

paragraph are denied.

       129.   Defendants admit that during the ninety-day comment period for the Notice,

ATF received over 290,000 public comments.

       130.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       131.   This paragraph consists of Plaintiffs’ characterization of the Rule and of a

statutory provision, and also consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, Defendants respectfully refer the Court to the




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cited legal provisions for a full and accurate statement of their contents, and otherwise the

allegations in this paragraph are denied.

         132.   This paragraph consists of Plaintiffs’ characterization of the Rule and of a

statutory provision, and also consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, Defendants respectfully refer the Court to the

cited legal provisions for a full and accurate statement of their contents, and otherwise the

allegations in this paragraph are denied.

         133.   Defendants hereby incorporate by reference their responses to paragraphs 1-

132.

         134.   This paragraph consists of Plaintiffs’ characterization of the Rule and of judicial

decisions, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited legal

provisions for a full and accurate statement of their contents, and otherwise the allegations in

this paragraph are denied.

         135.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

         136.   Defendants hereby incorporate by reference their responses to paragraphs 1-

135.

         137.   This paragraph consists of Plaintiffs’ characterization of a judicial decision, and

also consists of legal conclusions, to which no response is required. To the extent a response


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is deemed required, Defendants respectfully refer the Court to the cited decision for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

       138.   This paragraph consists of legal conclusions, to which no response is required.

To the extent a response is deemed required, Defendants respectfully refer the Court to the

Rule for a full and accurate statement of its contents, and otherwise the allegations in this

paragraph are denied.

       139.   This paragraph consists of Plaintiffs’ characterization of a constitutional

provision, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited

constitutional provision for a full and accurate statement of its contents, and otherwise the

allegations in this paragraph are denied.

       140.   This paragraph consists of Plaintiffs’ characterization of a constitutional

provision, and also consists of legal conclusions, to which no response is required. To the

extent a response is deemed required, Defendants respectfully refer the Court to the cited

constitutional provision for a full and accurate statement of its contents, and otherwise the

allegations in this paragraph are denied.

       141.   This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       142.   This paragraph consists of Plaintiffs’ characterization of the Rule and of a

statutory provision, and also consists of legal conclusions, to which no response is required.


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To the extent a response is deemed required, Defendants respectfully refer the Court to the

cited legal provisions for a full and accurate statement of their contents, and otherwise the

allegations in this paragraph are denied.

         143.   Defendants hereby incorporate by reference their responses to paragraphs 1-

142.

         144.   This paragraph consists of Plaintiffs’ characterization of the Rule and of a

constitutional provision, and also consists of legal conclusions, to which no response is

required. To the extent a response is deemed required, Defendants respectfully refer the Court

to the cited legal provisions for a full and accurate statement of their contents, and otherwise

the allegations in this paragraph are denied.

         145.   Defendants hereby incorporate by reference their responses to paragraphs 1-

144.

         146.   This paragraph consists of Plaintiffs’ characterization of a judicial decision, and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decision for a full and

accurate statement of its contents, and otherwise the allegations in this paragraph are denied.

         147.   This paragraph consists of Plaintiffs’ characterization of judicial decisions, and

also consists of legal conclusions, to which no response is required. To the extent a response

is deemed required, Defendants respectfully refer the Court to the cited decisions for a full

and accurate statement of their contents, and otherwise the allegations in this paragraph are

denied.




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       148.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       149.    This paragraph consists of Plaintiffs’ characterization of the Rule, and also

consists of legal conclusions, to which no response is required. To the extent a response is

deemed required, Defendants respectfully refer the Court to the Rule for a full and accurate

statement of its contents, and otherwise the allegations in this paragraph are denied.

       The remainder of the Complaint consists of a demand for relief, not allegations of fact

to which a response is required. To the extent a response is deemed required, Defendants

deny that Plaintiffs are entitled to the relief requested or any other relief whatsoever.

       Defendants specifically deny each and any allegation of the Complaint not otherwise

expressly admitted, qualified, or denied in this Answer.

DATED: December 2, 2022                             Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant           Attorney
                                                    General

                                                    ALEXANDER K. HAAS
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